Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 1 of
                                     22




                          Exhibit 3
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 2 of
                                     22


   1      1    DISTRICT COURT, COUNTY OF ARAPAHOE
               STATE OF COLORADO
   2      2    7325 South Potomac Street
               Centennial, Colorado 80112
   3      3                                        ^ COURT USE ONLY ^
               ______________________________________________________
   4      4
               RIKKI MCALISTER,                        Case Number 2023CV030960
   5      5    individually and on behalf
               of all others similarly                             Division 204
   6      6    situated,
                     Plaintiff,
   7      7
               vs.
   8      8
               LGI HOMES CORPORATE, LLC,
   9      9    a Texas limited liability
               company; and
  10    10
               KEVIN WOLF, individually,
  11    11           Defendants.
               ______________________________________________________
  12    12
                    REMOTE RULE 30(b)(6) DEPOSITION OF LGI HOMES
  13    13                CORPORATE, LLC, by CONNIE SONIER
                                  October 24, 2023
  14    14     ______________________________________________________
  15    15
  16    16
  17    17
  18    18
  19    19
  20    20
  21    21
  22    22
  23    23
  24    24
  25    25

                                                                    Page 1

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 3 of
                                     22


   1    2
   2
            1   REMOTE APPEARANCES:
   3
            2   ON BEHALF OF THE PLAINTIFF:
   4                           ADAM M. HARRISON, ESQ.
            3                  HKM Employment Attorneys LLP
   5                           730 17th Street, Suite 750
            4                  Denver, Colorado 80202
   6                           Phone: 720-255-0370
            5                  Email: aharrison@hkm.com
   7
            6                   JENNIFER A. WADHWA, ESQ.
   8                            3i Law LLC
            7                   2000 South Colorado Boulevard
   9                            Tower I, Suite 10000
            8                   Denver, Colorado 80222
  10                            Phone: 303-245-2100
            9                   Email: jwadhwa@3ilawfirm.com
  11
        10      ON BEHALF OF THE DEFENDANTS:
  12                           PATRICK J. COLLOPY, ESQ.
        11                     VANCE O. KNAPP, ESQ.
  13                           Fisher Phillips
        12                     1125 17th Street, Suite 2400
  14                           Denver, Colorado 80202
        13                     Phone: 303-218-3650
  15                           Email: pcollopy@fisherphillips.com
        14                            vknapp@fisherphillips.com
  16
        15      Also Present:   Abby Schwarz
  17                            Scott Garber
        16
  18
        17
  19
        18
  20
        19
  21
        20
  22
        21
  23
        22
  24
        23
  25
        24

                                                                    Page 2

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 4 of
                                     22


   1    3
   2        1                   PURSUANT TO WRITTEN NOTICE and the
   3        2   appropriate rules of civil procedure, the remote
   4        3   Rule 30(b)(6) deposition of LGI Homes Corporate, LLC, by
   5        4   CONNIE SONIER, called for examination by the Plaintiff,
   6        5   was taken with all parties appearing remotely, commencing
   7        6   at 9:36 a.m. on October 24, 2023, before Kimberly Smith,
   8        7   Registered Professional Reporter and Notary Public in and
   9        8   for the State of Colorado.
  10        9
  11    10                                  I N D E X
  12    11      EXAMINATION:                                          PAGE
  13    12      By Mr. Harrison                                          5
  14    13      EXHIBITS:                                             PAGE
  15    14      Exhibit 1      Plaintiff's First Amended Notice         13
                               of Deposition of the Defendant
  16    15                     LGI Homes Corporate, LLC Pursuant
                               to C.R.C.P. 30(b)(6)
  17    16
                Exhibit 2      LinkedIn Resume of Connie Sonier         14
  18    17
                Exhibit 3      Email to Schilling from ExponentHR,      17
  19    18                     5/3/18
  20    19      Exhibit 4      Pay stub for McAlister, with             38
                               attachments
  21    20
                Exhibit 5      Pay stub for McAlister, with             38
  22    21                     attachments
  23    22      Exhibit 6      Additional LGI Policies, with            54
                               attachment
  24    23
  25    24      Exhibit 7      Excerpt from LGI Homes Employee          57
                               Handbook

                                                                     Page 3

                                  Veritext Legal Solutions
                                       303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 5 of
                                     22


   1    4
   2
            1   Exhibit 8    Department of Labor and Employment         60
   3                         Colorado Minimum Wage Order Number
            2                35
   4
            3   Exhibit 9    Department of Labor and Employment         60
   5                         Colorado Overtime and Minimum Pay
            4                Standards Order (Comps Order) #38
   6
            5   Exhibit 10   Letter To Whom It May Concern              66
   7                         from McAlister, 4/2/23, with
            6                attachments
   8
            7   Exhibit 11   LGI Homes, Inc. Performance Based          68
   9                         Job Description, New Home
            8                Consultant
  10
            9   Exhibit 12   Excel Spreadsheet                          72
  11
        10      Exhibit 13   Unlabeled Log                              75
  12
        11      Exhibit 14   Worksheet                                  76
  13
        12      Exhibit 15   Form Letter from DeCamp, 1/25/07,          80
  14                         with attachments
        13
  15            Exhibit 16   3rd Quarter 2020 Commission Detail,        82
        14                   Rikki McAlister
  16
        15
  17
        16
  18
        17
  19
        18
  20
        19
  21
        20
  22
        21
  23
        22
  24
        23
  25
        24

                                                                    Page 4

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 6 of
                                     22


   1    5

   2        1                        P R O C E E D I N G S

   3        2                            CONNIE SONIER

   4        3   having been first duly sworn, was examined and

   5        4   testified as follows:

   6        5                              EXAMINATION

   7        6   BY MR. HARRISON:

   8        7          Q     Good morning, Ms. Sonier.       My name is Adam

   9        8   Harrison.    I represent Rikki McAlister in a

  10        9   punitive -- that means hopeful -- wage and hour class

  11    10      action and her individual claims against LGI.          And

  12    11      this morning, we -- I'll be the one deposing you.

  13    12                   Have you been deposed before?

  14    13             A     I have not.

  15    14             Q     Okay.    There's just a little bit of

  16    15      housekeeping, kind of running through the rules of the

  17    16      road, at the start here.

  18    17                   And then I'll stop and check in on the fact

  19    18      that -- whether we're all connected virtually to

  20    19      Exhibit Share.

  21    20                   And then I'll talk to you about the way

  22    21      that -- this is a Rule 30(b)(6) deposition, where

  23    22      we've asked for a designee on topics.

  24    23                   But kind of first, to those kind of basics

  25    24      of the deposition:      I'm going to ask you a series of

        25      questions.    I will then -- I'll pause and wait for

                                                                    Page 5

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 7 of
                                     22


   1                     MR. KNAPP:       We're referring to the document

   2        that's Plaintiff's Exhibit 1?

   3                     MR. HARRISON:         Yes, sir.

   4                     MR. KNAPP:       I'm just going to need a

   5        second.

   6                     MR. HARRISON:         Ideally, I do uniform

   7        exhibits, so it would be just overall Exhibit 1, and

   8        then use continuous throughout the depositions.

   9                     THE DEPONENT:         Can you scroll down, please.

  10                     MR. KNAPP:       Yeah, sure.

  11               A     Yes, that is me.

  12               Q     (By Mr. Harrison)           And so your current job

  13        at LGI is the vice president of human resources?

  14               A     It is.

  15               Q     And you've been in that role since

  16        December 2015; is that correct?

  17               A     I have.

  18               Q     Okay.     Tell me just a little bit, kind of

  19        the Cliff Notes version:           What is your role as the

  20        vice president of human resources?

  21               A     So my role is to oversee the HR department.

  22        I have three direct reports.             Two report to one of my

  23        direct reports.       So HR has six employees.        Recruiting

  24        at LGI is separate from HR.            It falls under our chief

  25        marketing officer.

                                                                    Page 13

                                   Veritext Legal Solutions
                                        303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 8 of
                                     22


   1                      So our main duties day to day are mainly

   2        payroll and benefits and then any HR issues that would

   3        come up.

   4               Q      Things like discipline or harassment,

   5        things like that?

   6               A      We don't usually do the discipline.           That

   7        would be done by the field.

   8               Q      Okay.     How long has -- the recruiting

   9        aspect of management, how long has that been handled

  10        separately from what you're doing in HR?

  11               A      Always.

  12               Q      By "Always," do you mean the entire time

  13        you've been at LGI, since 1994?

  14               A      I've been at LGI since 2007.

  15               Q      Okay.     I'm sorry.        I was looking at Quality

  16        Publishing, and I just totally missed that.              That was

  17        your role before.        Okay.

  18                      What was -- as HR administrator, from

  19        May 2007 to November '22 -- that's what I'm seeing on

  20        Exhibit 2 -- is that -- is that an accurate time

  21        period for you being an HR administrator?

  22               A      Yes.

  23               Q      And what did you administer?           What was your

  24        role there?

  25               A      We were just a lot smaller company.           We did

                                                                     Page 14

                                    Veritext Legal Solutions
                                         303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 9 of
                                     22


   1        those homes, starting with the driveway and the

   2        backyard and just rinse and repeat for each home.

   3                 Q   Okay.    Taking a couple of steps back:

   4        The -- when you're talking about a target home, is

   5        that -- within any community where the sales are being

   6        made, is there -- does there tend to be one target

   7        home that you're using as kind of model home for the

   8        community?

   9                 A   Correct.     One target home, yes.

  10                 Q   Okay.    And do you all -- okay.      And then

  11        the -- you talked about there being a computer in a

  12        room of the home.

  13                     Did I hear that correctly?

  14                 A   Yes.    In -- for our sales office, we use

  15        one of the LGI homes.        And the garage has been

  16        converted into a sales office.

  17                     We refer to it as the boiler room.         And

  18        that's where the sales reps' desks are, and there's

  19        one computer there for them to use to run credit.

  20                 Q   So for that home, is that -- I mean, that's

  21        the -- that's the sales office in that community,

  22        right?

  23                 A   Correct.

  24                 Q   Is it also a model home, or is the target

  25        home generally the one model home in the community?

                                                                  Page 26

                                  Veritext Legal Solutions
                                       303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 10
                                    of 22


  1               A     So LGI is a little different.               We don't

  2        stage the homes.     They're empty.              They don't have

  3        furniture, anything in them, the target home.                 So it's

  4        ready to be moved in right away.

  5                     But the home that we're using as the sales

  6        office, it is furnished as an office.                 It's got tables

  7        set up for the sales reps to meet with the customer.

  8        And there's a sales manager office, a mortgage office

  9        there, and a reception desk for the office manager.

 10               Q     So it tends to be a good workspace.               But

 11        the sales office home is not a model home, correct?

 12               A     Correct.     When we're ready to move out of

 13        that community, we can easily convert it to a home to

 14        be sold.

 15               Q     Okay.   Do you have knowledge of the --

 16        generally, the number of hours that sales reps were

 17        working during this period?

 18               A     I do not, because they're exempt.               We don't

 19        track their hours.

 20               Q     Okay.   Have you or has LGI talked to its

 21        employees recently about how many hours they're

 22        working?

 23               A     Not to my knowledge.

 24               Q     Would you agree with me that when it comes

 25        to the number of hours that they're working, that the

                                                                       Page 27

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 11
                                    of 22


  1        he do?

  2                 A    So vice president of sales have the sales

  3        managers report to them.          So they do goals once a

  4        month with the sales managers.

  5                      And then they'll just stop in, check in on

  6        the different locations, and be there to answer any

  7        questions that may come up for the sales managers.

  8                 Q    Okay.   Does the sales manager have any --

  9        have any control over the pay rates, the methods by

 10        which sales reps will be paid?

 11                 A    They do not.

 12                 Q    Do they have the power to hire and fire

 13        sales reps?

 14                 A    They have the power to hire, not to fire.

 15                 Q    Who has the power to fire sales reps?

 16                 A    So we have a committee of three here at the

 17        corporate office.      It is Eric Lipar, the CEO; Mike

 18        Snider, the COO; and Charles Merdian, the CFO.           And

 19        two of the three have to agree to a termination before

 20        any employee is terminated.

 21                 Q    Okay.   And does one of those individuals --

 22        is one of those individuals the one who ultimately has

 23        the power to decide how and what the sales reps would

 24        be paid?

 25                 A    So that would be Eric Lipar, the CEO; and

                                                                 Page 30

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 12
                                    of 22


  1        Mike Schneider, the COO.          They're the ones that

  2        determine the rate of pay for the sales reps.

  3               Q     Okay.    Who within the organization decides

  4        what the employment policies will be?            Is it one of

  5        those two?

  6               A     Can you explain what you mean by

  7        "employment policies"?

  8               Q     Sure.    So we have some pretty big

  9        employment manuals that LGI produced to the plaintiff

 10        in this case.

 11                     Are you familiar with that production:             the

 12        employee manuals that we got?

 13               A     Yes.    So that would be those same two, yes.

 14               Q     They're the ones who would decide what

 15        would go in there?

 16               A     Yes.

 17               Q     Are you familiar with how the sales reps --

 18        kind of what their pay -- their method of payment was,

 19        whether they were salaried or bonused or commissioned

 20        or hourly or any of that?

 21               A     Yes.

 22               Q     Okay.    So talk me through that.        Were all

 23        of the sales reps -- during the six and a half years

 24        that we're looking at, were all of them paid by the

 25        same method?

                                                                  Page 31

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 13
                                    of 22


  1                     Going back just one step:               Is there -- is

  2        there a way for you or for LGI to determine the number

  3        of sales reps that it's had within the six years and

  4        five months?

  5                A    Yes.

  6                     MR. HARRISON:        I kind of have to hold this

  7        30(b)(6) open or reserve my right to seek that answer

  8        until we can get it.

  9                     So I just want to -- could you find out --

 10        could you find out for me how many sales reps there

 11        were?

 12                     MR. KNAPP:      I think on a break, we could do

 13        that.

 14                     THE DEPONENT:        Uh-huh.

 15                     MR. HARRISON:        Awesome.         That way we don't

 16        have to spend any more dates . . .

 17                Q    (By Mr. Harrison)          Now, talk to me about

 18        the draw.    It used to be 36,000.               Now it's a little

 19        bit more than that.

 20                     How does the -- how does the draw work?

 21                A    So when a sales rep starts, they get 100

 22        days of training pay; because we're intensely training

 23        them, and their ability to close a home in the first

 24        100 days is lower, of course.

 25                     So they get the training pay, which they

                                                                       Page 33

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 14
                                    of 22


  1        don't pay back.      And then --

  2               Q     What is -- at what rate is that?

  3               A     36,000 a year.

  4               Q     Okay.    So within those first 100 days,

  5        they're getting paid at that rate.               But it's not --

  6               A     Yes.

  7               Q     -- it's not a draw; it's training pay?

  8               A     Correct.     Yes.

  9               Q     Okay.    Go ahead.

 10               A     And then after the 100 days, they go onto

 11        the draw.    And so we prorate it for however many days

 12        after the 100 days they have left in that quarter.

 13        And then when they earn commissions, they get paid the

 14        commissions that is above that draw.

 15                     And then going forward, when it was 36,000,

 16        it's the $9,000 a quarter.           So once your commissions

 17        exceed that $9,000, you would receive those

 18        commissions.

 19                     And your draw continues.             The draw never

 20        stops, because now you're earning commissions above

 21        it.   The draw is steadily paid every two weeks.

 22               Q     Okay.    For a person who doesn't receive

 23        commissions for several months, they would still

 24        receive the draw on all of their paychecks, right?

 25               A     So prior to October 2022, they could

                                                                     Page 34

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 15
                                    of 22


  1        whether the deductions ended up being 100 percent of

  2        the draw that a person received during a pay year.

  3               A      Yes.    So it is dollar-for-dollar for what

  4        they receive.

  5               Q      Who within the organization presently is

  6        responsible for making sure that the company's in

  7        compliance with wage and hour laws?

  8               A      Within the company.           So we went to outside

  9        counsel and had the wage and hour verified for our

 10        sales reps.

 11               Q      When was that?

 12               A      We went in 2016 and 2019.

 13               Q      Okay.    And what counsel was that?

 14               A      So in 2016, it was Colleen Flynn.           She is

 15        out of Clearwater, Florida.            And 2019 was Theresa

 16        Gallion from Austin, Texas.

 17               Q      Okay.    And since -- since 2019, has there

 18        been anybody in charge of assuring compliance with

 19        Colorado wage and hour laws?

 20               A      We just feel that we're in compliance.

 21        Nothing changed with the sales reps' pay since 2019,

 22        other than in October of 2022, we increased their draw

 23        amount and added income.

 24                      So nothing changed that would negatively

 25        affect the sales reps.

                                                                    Page 46

                                  Veritext Legal Solutions
                                       303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 16
                                    of 22


  1        like, the community board of where the Walmart is and

  2        all of that.       That's done in the sales office.

  3                        And then once their credit is ran, then

  4        they would -- if they qualify.               If they don't qualify,

  5        we don't take them to see a house that they can't buy.

  6                        So if they qualify, that's when they get in

  7        the car and go into the community.

  8                 Q      Now I understand.         So some of the

  9        appointments were just in the sales office.                  Other

 10        sales appointments had various stages, where you're

 11        inside and went on a field trip as well?

 12                 A      Correct.

 13                 Q      Okay.   Were -- is it the policy or --

 14        sorry.       Are the sales reps generally setting up the

 15        appointments just for the weekends?

 16                 A      That's the preference.             I mean, there are

 17        the one-offs, when a customer works on the weekend and

 18        can't come in on the weekend.              So one-offs, they may

 19        come in during the week.

 20                        But the goal is to have them scheduled for

 21        Saturday and Sunday.         Having an office full of

 22        customers builds urgency with the customer.                  So that's

 23        part of the LGI sales tactic.

 24                 Q      So much psychology.          You-all really thought

 25        through this.

                                                                        Page 48

                                   Veritext Legal Solutions
                                        303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 17
                                    of 22


  1                      Other than the appointments, would there be

  2        any reason for a sales rep to be working outside of

  3        the office?

  4               A      During the week, they may go and tour the

  5        houses that they're going to be selling.          They get a

  6        price list, and they know which homes are available

  7        for sale that weekend.

  8                      So we encourage them to go out, walk

  9        through them, make sure the carpets are vacuumed, and

 10        that they're a shiny penny to know what they're

 11        selling, whether it's three-bedroom, four-bedroom, any

 12        of that.

 13                      And then they also could go out and shop

 14        the competition, maybe go visit apartment complexes;

 15        because we believe that builds faith in getting

 16        employees into a home, what -- what they get with a

 17        home versus an apartment.

 18                      And then they go and they shop the

 19        competitors.     They go to DR Horton or one of them and

 20        see what we offer versus what -- the neighboring

 21        communities, our competition, if you will.

 22                      And they go sometimes to the schools, and

 23        they visit with the principal and find out about some

 24        of the accolades for the local schools and all of

 25        that; because we want our sales reps to 100 percent

                                                                 Page 49

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 18
                                    of 22


  1        believe this is the best opportunity for the customer,

  2        because that comes across when they're selling to the

  3        customer, and we want to be able to answer absolutely

  4        every objection that the customer would have.

  5                     So they need to be out in the community

  6        finding that out.

  7               Q     About how many hours a week or month would

  8        you say that the sales reps are spending outside the

  9        office?

 10               A     I don't know.        We don't track it.   And each

 11        community would be different.

 12               Q     Okay.   Monday through Friday, would the

 13        sales reps primarily do their work from the sales

 14        office?

 15               A     They usually are scheduled to work three

 16        days a week during the week and have two days off.

 17        And, yes, they would mainly be in the sales office

 18        taking phone calls for sales.

 19               Q     Okay.   And then on Saturday, Sunday, I'm

 20        understanding, I think, that they're -- that

 21        appointments tended to be kind of hybrid, as between

 22        the sales office and tours.

 23                     But on the weekend, would work primarily be

 24        at the office as well?

 25               A     I think it would depend on how many of

                                                                  Page 50

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 19
                                    of 22


  1        their customers qualified to see the homes.          But then

  2        the majority of the sales process, to my knowledge,

  3        happens in the homes; because that's what we're

  4        selling to the -- to the customer.

  5               Q      Are you aware of instances or did it happen

  6        that sales reps worked more than just the three

  7        weekdays a week?

  8               A      I know outside of the COVID period, because

  9        somewhere in the -- April or May of 2020, we closed

 10        the sales line, where you could only come in on your

 11        scheduled shifts.      And then we opened it back up

 12        sometime last year.

 13                      And other than COVID, the sales reps are --

 14        were allowed to come in whenever they wanted.           They

 15        could come in on their day off if they wanted to get

 16        on the board to be able to take the calls and take the

 17        walk-ins.     They did have that ability, yes.

 18               Q      Do you have a sense for how frequently that

 19        happened?

 20               A      I do not.

 21               Q      Okay.   During the six and a half years, six

 22        years and five months that we're looking at, did LGI

 23        have a policy of paying overtime compensation to the

 24        sales reps?

 25               A      We did not.     We have them at exempt.

                                                                 Page 51

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 20
                                    of 22


  1               Q     So is your policy to regard all of them as

  2        exempt and not pay them overtime compensation?

  3               A     Correct.

  4               Q     During the six years and five months that

  5        we're looking at, was it LGI's policy to provide paid

  6        rest periods to the sales reps?

  7               A     We did not pay them anything additional

  8        outside of their commissions and draw for rest breaks,

  9        no.

 10               Q     Was it -- was it their policy that they

 11        receive rest breaks?

 12               A     Yes.

 13               Q     Okay.   And how was that policy communicated

 14        to the sales reps?

 15               A     So one example, it's even in our sales

 16        manager manual, when we do Thursday trainings, even

 17        listed in the manual the LGI way, is what we call it,

 18        they schedule in breaks, just like we do here in this

 19        meeting.    We realize that people need to take breaks

 20        from meetings to go to the restroom, check their

 21        phone, whatever they need to do.

 22                     And then during the week, when the sales

 23        reps are in the office, if they're not the next one up

 24        for the next phone call or the next walk-in, they have

 25        ample time to take breaks in between their time to

                                                                 Page 52

                                 Veritext Legal Solutions
                                      303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 21
                                    of 22


  1        have a customer.

  2                       And then during the weekend, they may not

  3        have a customer at that time; or if they do, they're

  4        always free to get up from the customer, go take a

  5        break.

  6                       When they're in the home and they're

  7        staying in the kitchen and the sales -- the customers

  8        are walking around the house, they could be free to

  9        take a break at that point.

 10                 Q     Would it -- would it be the -- I hear you

 11        saying that there's a sales manager manual that tells

 12        managers to -- sales managers to do things that way.

 13                       Is that correct?

 14                 A     To take a break during the training, yes,

 15        sir.

 16                 Q     Okay.   Was there a policy requiring sales

 17        managers to schedule breaks for people outside of the

 18        training period?

 19                 A     So in our handbook, we reference that

 20        Colorado employees get a break.              But I don't believe,

 21        to my knowledge, that they're scheduled at a certain

 22        period.      We don't stop everything and say, It's 10:20;

 23        let's take a ten-minute break.

 24                 Q     Okay.   So is it your understanding that the

 25        sales reps we're talking about, for the six-year

                                                                    Page 53

                                  Veritext Legal Solutions
                                       303-988-8470
Case No. 1:23-cv-03088-NYW-KAS Document 51-3 filed 08/05/24 USDC Colorado pg 22
                                    of 22


  1                     CERTIFICATE OF DEPOSITION OFFICER
  2        STATE OF COLORADO                         )
  3        CITY AND COUNTY OF DENVER             )
  4                         I, Kimberly Smith, a Registered
  5        Professional Reporter and Notary Public within and for
  6        the State of Colorado, commissioned to administer oaths,
  7        do hereby certify that previous to the commencement of
  8        the examination, the witness was duly sworn by me to
  9        testify the truth in relation to matters in controversy
 10        between the said parties; that the said deposition was
 11        taken in stenotype by me at the time and place aforesaid
 12        and was thereafter reduced to typewritten form by me; and
 13        that the foregoing is a true and correct transcript of my
 14        stenotype notes thereof; that I am not an attorney nor
 15        counsel nor in any way connected with any attorney or
 16        counsel for any of the parties to said action nor
 17        otherwise interested in the outcome of this action.
 18                         My commission expires June 21, 2025.
 19
 20        <%22401,Signature%>
           KIMBERLY SMITH
 21        Registered Professional Reporter
           Notary Public, State of Colorado
 22
 23
 24
 25

                                                                 Page 96

                                 Veritext Legal Solutions
                                      303-988-8470
